        Case 4:20-cv-05640-YGR Document 639 Filed 05/11/21 Page 1 of 1




                         UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF CALIFORNIA
                          BENCH TRIAL CIVIL MINUTES

 Date: 5/11/2021                Time: 8:00AM              Judge: YVONNE
                                                          GONZALEZ ROGERS
 Case No.: 20-cv-5640-YGR       Case Name: Epic Games v. Apple Inc.

TIME: 8:00AM -10:16AM; 10:36AM-12:34PM; 1:15PM-3:15PM

Attorney for Plaintiff: Lead counsel: Katherine Forrest and Gary Bornstein

Attorney for Defendant: Lead counsel Richard Doren and Karen Dunn and Veronica Moye

 Deputy Clerk: Frances Stone                        Court Reporter: DIANE SKILLMAN
                                                    AND PAM HEBEL

BENCH TRIAL BEGAN: 5/3/2021
                                      PROCEEDINGS


Case called. Discussion with counsel.
Plaintiff Epic attorney Gary Bornstein resumes Direct of Witness Dr. David Evans.
RECESS. Defendant Apple attorney Dan Swanson Cross of Witness Evans.
Plaintiff Epic attorney Bornstein Redirect of Evans. Court questions for witness Evans.
Redirect. Re-cross. Redirect. Discussion with counsel. RECESS. Plaintiff Epic attorney
Yonathan Even calls witness Dr. Susan Athey for Direct. Defendant Apple Attorney Karen
Dunn Cross of Witness Athey. Witness excused for the day. RECESS for the day.




Further Bench Trial Wednesday , May 12, 2021 at 8:00 AM.

EXHIBITS ADMITTED IN EVIDENCE :

Defendant; DX 5549 and DX 5550
